                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:11-cr-27
 v.                                                    )
                                                       )       MATTICE / LEE
 DIAMOUND DINA BROWN                                   )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the sixteen-count

 Superseding Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count One of the Superseding Indictment, that is of conspiracy to distribute 28 grams or more of a

 mixture and substance containing a detectable amount of cocaine base (“crack”), a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser offense of the charge in Count One of the Superseding Indictment, that

 is of conspiracy to distribute 28 grams or more of a mixture and substance containing a detectable

 amount of cocaine base (“crack”), a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) Defendant has been released on bond under appropriate conditions of

 release pending sentencing in this matter [Doc. 76]. Neither party filed a timely objection to the

 report and recommendation. After reviewing the record, the Court agrees with the magistrate judge’s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge’s report and recommendation [Doc. 76] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Superseding



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             Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Superseding Indictment, that is of conspiracy to distribute 28 grams or more of a

             mixture and substance containing a detectable amount of cocaine base (“crack”), a

             Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

             841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Superseding Indictment, that is of conspiracy to distribute 28 grams or

             more of a mixture and substan’ce containing a detectable amount of cocaine base

             (“crack”), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

             841(a)(1) and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter, which is scheduled to take place on Monday,

             October 17, 2011 at 2:00 p.m. before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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